Case: 2:15-cv-00695-GCS-EPD Doc #: 108-3 Filed: 11/10/16 Page: 1 of 4 PAGEID #: 1387


                   U.S. DISTRICT COURT, SOUTHERN DISTRICT OF OHIO
 Jeff Lackie, et al.                            )    Case No. 2:15-cv-695
                 Plaintiffs,                    )    Judge George C. Smith
    v.                                          )
 U.S. Well Services, LLC                        )    Magistrate Judge
                 Defendant.                     )    Elizabeth Preston Deavers

                         NOTICE OF CLASS ACTION SETTLEMENT

 TO:    Hourly non-exempt employees or former employees of U.S. Well Services, LLC
        in Ohio and Pennsylvania who (1) received a safety or performance bonus, (2)
        worked for more than forty hours in a workweek in which a bonus was earned,
        and (3) have not already opted into the instant case (“Settlement Class”).

                 TO RECEIVE A SETTLEMENT PAYMENT, YOU MUST
               SIGN AND RETURN THE ATTACHED CONSENT FORM BY
                         (insert 60th day after date of mailing) )

 PURPOSE OF THIS NOTICE
 This Notice informs you of a proposed class and collective action settlement (“the Settlement”)
 in which you are entitled to a settlement payment. This notice tells you what you must do to
 receive a settlement payment. Alternatively, it tells you how you may exclude yourself from the
 Settlement Class if you so desire, as well as other rights of class members.

 THE ACTION AND PROPOSED SETTLEMENT
 The Action was filed by Plaintiffs Jeff Lackie and William Crandell on behalf of themselves and
 other current and former employees of Defendant U.S. Well Services, LLC. Plaintiffs alleged
 that Defendant miscalculated overtime compensation in violation of the Fair Labor Standards
 Act and Ohio and Pennsylvania laws because “safety and compliance bonuses” as well as
 “performance bonuses” were excluded from the overtime calculation. Defendant denies those
 claims.

 If approved by the Court, the Settlement will resolve and release all claims against Defendant
 and related parties involving alleged miscalculation of overtime compensation on account of
 bonuses and all other wage-and-hour or overtime compensation claims (except for certain claims
 specified in the parties’ Settlement and Release Agreement relating to per diem payments and
 alleged misclassification of employees). The Settlement provides settlement payments to the
 Plaintiffs and Opt-Ins, and makes reduced payments available to members of the Settlement
 Class defined above. Attorneys’ fees in the amount of one-third of the total settlement amount
 will be deducted.

 The Court has preliminarily approved the Settlement and ordered this Notice to be sent to
 members of the Settlement Class. The Court has no opinion on the merits of the Action.

 HOW TO RECEIVE A SETTLEMENT PAYMENT
 To receive a settlement payment, you must sign and return the enclosed “Consent Form” by (a)
 mailing it to __________, (b) faxing it to __________, or (c) scanning and emailing it to
 __________.
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 Your signed Consent Form must be postmarked, or received by fax or email, by (insert 60th
 day after date of mailing).

 NO RETALIATION PERMITTED
 The law prohibits U.S. Well Services and its agents and employees from discharging you or in
 any manner harassing, discriminating, or retaliating against you for taking part in this Action.

 FAIRNESS HEARING AND RELATED MATTERS
 To determine whether final approval of the Settlement should be granted, the Court will convene
 a Fairness Hearing at __________ on __________. The Fairness Hearing will be held in
 Courtroom __________ of the Joseph P. Kinneary U.S. Courthouse, 85 Marconi Boulevard,
 Columbus, Ohio 43215. Class members may object to the Settlement by mailing a statement of
 objection to __________, postmarked on or before __________, and they may enter an
 appearance through an attorney if they so desire. Class members are not required to appear
 at the Fairness Hearing.

 REQUESTING EXCLUSION AND BINDING EFFECT
 The Court will exclude you from the Settlement Class if you so desire. Requests for exclusion
 must be mailed to __________, postmarked on or before __________. Members of the
 Settlement Class who do not request exclusion will be bound by the Settlement and the Court’s
 final judgment in the Action.

 PLAINTIFFS’ COUNSEL
 The attorneys who represent the Plaintiffs, Opt-Ins, and Settlement Class are:

 Hans A. Nilges                                    Steven G. Thomakos
 Shannon M. Draher                                 Steven G. Thomakos, LLC
 Nilges Draher, LLC                                P.O. Box 944
 4580 Stephen Circle, N.W.                         221 Front Avenue, S.W.
 Suite 201                                         New Philadelphia, Ohio 44663
 Canton, Ohio 44718                                330-308-0500
 330-470-4428                                      thomakoslaw6@aol.com
 hans@ohlaborlaw.com
 sdraher@ohlaborlaw.com

 Thomas A. Downie
 46 Chagrin Falls Plaza #104
 Chagrin Falls, Ohio 44022
 (440) 973-9000
 tom@chagrinlaw.com

 FURTHER INFORMATION
 To review the Settlement and Release Agreement or obtain further information about this Notice
 or the Action, please call Hans A. Nilges or Shannon M. Draher at 330-470-4428. Papers and
 documents filed in the Action, including the Settlement and Release Agreement, may be
 examined and photocopied during regular office hours (8:00 a.m. to 4:30 p.m.) at the office of
 the Clerk of Court, Joseph P. Kinneary U.S. Courthouse, 85 Marconi Boulevard, Columbus,
 Ohio 43215.

 PLEASE DO NOT CONTACT THE COURT.
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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 JEFF LACKIE, et al.,                         )    CASE NO. 2:15-cv-695
                                              )
              Plaintiffs,                     )    JUDGE GEORGE C. SMITH
       v.                                     )
                                              )    MAGISTRATE JUDGE
 U.S. WELL SERVICES, LLC                      )    ELIZABETH PRESTON DEAVERS
                                              )
              Defendant.                      )

                             CONSENT FORM AND RELEASE

       I hereby consent to become a party in the captioned action for the purpose of

 accepting the terms of the Settlement and Release Agreement and receiving an

 individual settlement payment. I understand that if the Settlement is approved by the

 Court, I will be bound by the Court’s final judgment approving the Settlement.

       I release U.S. Well Services, LLC from any claim, right, or cause of action under

 the Fair Labor Standards Act and any applicable state wage statute relating to or arising

 from the payment of monthly bonuses and its alleged impact on the rate and amount of

 overtime pay and all other wage-and-hour or overtime compensation claims, known or

 unknown, (except for certain claims specified in the parties’ Settlement and Release

 Agreement by Cause/Case Numbers relating to per diem payments and alleged

 misclassification of employees).

 __________________                       ____________________________________
 Date                                     Signature

                                          ____________________________________
                                          Printed Name

                                          ____________________________________
                                          Street Address
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                                      ____________________________________
                                      City, State, and Zip Code

                                      ____________________________________
                                      Phone Number

                                      ____________________________________
                                      Email address
